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13
                           UNITED STATES DISTRICT COURT
14
                          EASTERN DISTRICT OF CALIFORNIA
15
                                 SACRAMENTO DIVISION
16

17
      X CORP.,                              No. 2:23-cv-01939-WBS-AC
18
                    Plaintiff,
19
            v.                              [PROPOSED] ORDER GRANTING
20                                          PLAINTIFF’S MOTION FOR
      ROBERT A. BONTA, Attorney             PRELIMINARY INJUNCTION
21    General of California, in his
      official capacity,
22
                    Defendant.
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     [PROPOSED] ORDER GRANTING MOTION         1
     FOR PRELIMINARY INJUNCTION
     Case 2:23-cv-01939-WBS-AC Document 18-1 Filed 10/06/23 Page 2 of 3


 1          Before   the   Court   is   Plaintiff’s   Motion    for   Preliminary

 2   Injunction.     Upon consideration of the Motion and all briefs and

 3   supporting papers and in accordance with Rule 65 of the Federal

 4   Rules of Civil Procedure, the Court concludes that the Motion

 5   should be granted and a preliminary injunction shall remain in

 6   effect during the pendency of this litigation.

 7          Defendant Attorney General Robert Bonta, in his official

 8   capacity, is charged with enforcing Assembly Bill 587 (“AB 587”),

 9   which   is   codified   in    California   Business   Code   Chapter   22.8,
10   entitled Content Moderation Requirements for Internet Terms of

11   Service, Cal. Bus. & Prof. Code §§ 22675–22681.           Plaintiff X Corp.

12   is a social media company governed by AB 587.

13          Plaintiff has evidenced a colorable claim that AB 587 violates

14   the First Amendment of the United States Constitution and Article

15   I, Section 2, of the California Constitution by compelling X Corp.

16   to speak about its moderation of hate speech, racism, extremism,

17   radicalization, disinformation, misinformation, harassment, and

18   foreign political interference; impermissibly interferes with the

19   constitutionally-protected editorial judgments of X Corp.; has both
20   the purpose and likely effect of pressuring social media companies,

21   such as X Corp., to restrict, remove, demonetize, or deprioritize

22   constitutionally-protected speech that the State deems undesirable

23   or harmful; and places an unjustified and undue burden on social

24   media companies, such as X Corp.       Plaintiff has also established a

25   likelihood of success that AB 587, due to its imposition of civil

26   penalties, conflicts with, and is thus preempted by, 47 U.S.C. §

27   230.

28          Plaintiff has established it will likely suffer irreparable

     [PROPOSED] ORDER GRANTING MOTION           2
     FOR PRELIMINARY INJUNCTION
     Case 2:23-cv-01939-WBS-AC Document 18-1 Filed 10/06/23 Page 3 of 3


 1   harm if AB 587 is not enjoined, and that the balance of equities

 2   and public interest favor an injunction.               Thus, the Court will

 3   grant Plaintiff’s request to enjoin AB 587.

 4         It   is   therefore    ORDERED     that    Plaintiff’s     Motion   for

 5   Preliminary     Injunction   be,   and   the    same   hereby   is,   GRANTED.

 6   Pending final resolution of this action, Defendant, his agents and

 7   employees, all persons or entities in privity with them, and anyone

 8   acting in concert with them, are hereby ENJOINED from enforcing AB

 9   587 against Plaintiff.
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11   IT IS SO ORDERED.

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     DATED:_______________                    ____________________________
14                                            Honorable William B. Shubb
                                              United States District Judge
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     [PROPOSED] ORDER GRANTING MOTION          3
     FOR PRELIMINARY INJUNCTION
